                                                                   1      John D. Fiero (CA Bar No. 136557)
                                                                          Jason H. Rosell (CA Bar No. 269126)
                                                                   2      PACHULSKI STANG ZIEHL & JONES LLP
                                                                          150 California Street, 15th Floor
                                                                   3      San Francisco, CA 94111
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                                                                   6      Counsel for the Official
                                                                          Committee of Unsecured Creditors
                                                                   7

                                                                   8                                UNITED STATES BANKRUPTCY COURT

                                                                   9                               NORTHERN DISTRICT OF CALIFORNIA,

                                                                  10                                       SAN FRANCISCO DIVISION

                                                                  11      In re:                                             Case No. 19-30232 (HLB)
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12      MUNCHERY, INC.,                                    Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                   Debtor.               NOTICE OF OPPORTUNITY FOR
                                           ATTORNEYS AT LAW




                                                                                                                             HEARING ON SECOND AND FINAL
                                                                  14                                                         APPLICATION OF PACHULSKI STANG
                                                                                                                             ZIEHL & JONES LLP FOR ALLOWANCE
                                                                  15                                                         AND PAYMENT OF COMPENSATION AND
                                                                                                                             REIMBURSEMENT OF EXPENSES FOR
                                                                  16                                                         THE FINAL FEE PERIOD (MARCH 26, 2019
                                                                                                                             THROUGH SEPTEMBER 5, 2020)
                                                                  17                                                         INCLUDING THE SECOND FEE PERIOD
                                                                                                                             (JULY 1, 2019 THROUGH SEPTEMBER 5,
                                                                  18                                                         2020)

                                                                  19                                                         Hearing Date:
                                                                                                                             Date: October 15, 2020
                                                                  20                                                         Time: 10:00 a.m. (Pacific Time)
                                                                                                                             Place: Telephonic/Video Appearances Only
                                                                  21                                                                 450 Golden Gate Avenue
                                                                                                                                     16th Floor, Courtroom 19
                                                                  22                                                                 San Francisco, CA 94109
                                                                                                                             Judge: Hon. Hannah L. Blumenstiel
                                                                  23

                                                                  24               PLEASE TAKE NOTICE that, on October 15, 2020 at 10:00 a.m., or as soon thereafter as
                                                                  25      the matter may be heard, the Honorable Hannah L. Blumenstiel, United States Bankruptcy Judge,
                                                                  26      will hear the second and final fee application filed by Pachulski Stang Ziehl & Jones LLP (“PSZJ”),
                                                                  27      counsel to the Official Committee of Unsecured Creditors of the above-captioned debtor. The
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                                                                         DOCS_SF:104204.1
                                                                       Case: 19-30232       Doc# 405   Filed: 09/22/20    Entered: 09/22/20 13:22:01      Page 1 of
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                                                                   1      second and final fee application of PSZJ (the “Fee Application”) seeks final allowance of fees, in the

                                                                   2      amount of $252,037.00, and expenses, in the amount of $8,285.14, for a total of $260,322.14.

                                                                   3              PLEASE TAKE FURTHER NOTICE that each interested party opposing or responding to

                                                                   4      the Fee Application must file and serve the response on undersigned counsel no later than October 8,

                                                                   5      2020.

                                                                   6              PLEASE TAKE FURTHER NOTICE that copies of the Fee Application can be obtained

                                                                   7      by contacting the undersigned counsel, and if no timely response or opposition to the Fee

                                                                   8      Applications is received, the Court may enter an order granting the relief requested therein without

                                                                   9      further notice.

                                                                  10              PLEASE TAKE FURTHER NOTICE that the hearing will not be conducted in the

                                                                  11      presiding judge’s courtroom but instead will be conducted by telephone or video. All interested
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12      parties should consult the Bankruptcy Court’s website at www.canb.uscourts.gov for information
                                        LOS ANGELES, CALIFORNIA




                                                                  13      about court operations during the COVID-19 pandemic. The Bankruptcy Court’s website provides
                                           ATTORNEYS AT LAW




                                                                  14      information regarding how to arrange a telephonic or video appearance. If you have any questions

                                                                  15      regarding how to appear at a court hearing, you may contact the Bankruptcy Court by calling 888-

                                                                  16      821-7606 or by using the Live Chat feature on the Bankruptcy Court’s website.

                                                                  17      Dated: September 22, 2020                    PACHULSKI STANG ZIEHL & JONES LLP

                                                                  18
                                                                                                                       /s/ Jason Rosell
                                                                  19                                                   John D. Fiero
                                                                                                                       Jason H. Rosell
                                                                  20
                                                                                                                       Counsel to the Official
                                                                  21                                                   Committee of Unsecured Creditors
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